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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY


  JOHN S. MACDONALD and                        Civil Action No. 2:16-cv-02781-
  JESSICA C. SPEARMAN,                         MCA-LDW

                    Plaintiffs,                Motion Date: May 6, 2019

        v.
                                                   ORAL ARGUMENT
  CASHCALL, INC.; WS FUNDING, LLC;                   REQUESTED
  DELBERT SERVICES CORP.; and J.
  PAUL REDDAM,

                   Defendants.


       Plaintiffs’ Memorandum of Law in Support of Motion for Class
                   Certification Pursuant to Fed. R. Civ. P. 23



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                                    INTRODUCTION

        This case is about Defendants’ illegal scheme to issue and collect on

  usurious consumer loans in New Jersey and across the country. Claiming

  affiliation with a Native American tribe and under the guise of tribal law,

  Defendants systematically issued loans with interest rates well over the legal limit

  imposed by New Jersey law—many as high as 139%. Using form loan agreements,

  Defendants issued these illegal loans to more than 11,000 New Jersey borrowers

  during the statutory period. The material terms of the agreement did not vary from

  borrower to borrower. Nor did the way in which the loan program functioned.

  Defendants’ claim of tribal affiliation was similarly uniform, and was used as a

  blanket justification for the illegal conduct at issue.

        This case is perfectly suited for class-wide resolution. The question of

  whether state and federal law applies to the loans at issue can be, and already has

  been, resolved on a class-wide basis. In denying Defendants’ motion to dismiss,

  this Court declined to endorse Defendants’ sham dispute resolution procedures,

  and explained that New Jersey law applies to this litigation. (See Op. on Mot. to

  Dismiss at 11-15, ECF No. 24.) On Defendants’ interlocutory appeal from that

  order, the Third Circuit explicitly affirmed this holding, concluding that

  Defendants’ reliance on tribal law “violated public policy” and that this Court was

  “correct to determine that New Jersey substantive law applies.” MacDonald v.


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   CashCall, Inc., 883 F.3d 220, 228 n.6 (3d Cir. 2018). Accordingly, the common

   question driving this litigation has already been resolved in Plaintiffs’ favor.

         As to the specific state and federal causes of action, they too can be resolved

   class-wide by examining Defendants’ uniform conduct. Liability under New

   Jersey’s usury law turns on whether Defendants charged interest rates that

   exceeded 16%. There is no dispute that they did. Similarly, both the New Jersey

   Consumer Fraud Act and the Racketeer Influenced and Corrupt Organizations Act

   (“RICO”) impose liability per se when dealing with usurious loans and their

   collection. As to damages, Defendants have stipulated that they can produce loan

   and payment data for each class member, allowing for mathematical calculations

   of amounts paid. In short, there are numerous common questions capable of

   generating common answers, as well as a manageable and fair way of calculating

   damages, to resolve the claims in this case for all New Jersey borrowers.

         For these reasons, the Court should grant class certification.

                             RELEVANT BACKGROUND

   I.    FACTUAL BACKGROUND

         A. The Parties

         The Defendants in this case are J. Paul Reddam (“Reddam”), a resident of

   California, and a series of related companies that he owns and controls. Defendant

   CashCall, Inc. (“CashCall”) is a lending company. (Ex. A: CashCall Dep. 20, 35-


                                              2
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   36.)1 Reddam is CashCall’s president, CEO, sole director, and sole shareholder.

   (Id. at 22.) Defendant WS Funding, LLC (“WS Funding”) is a wholly owned

   subsidiary of CashCall. (Id. at 77.)

                                                      Reddam likewise owned Delbert

   Services, Corp., (“Delbert”) a Nevada collection company. (Ex. A: CashCall Dep.

   163.)

           Non-party Western Sky Financial, LLC (“Western Sky Financial”) is a

   South Dakota limited liability company run by Martin “Butch” Webb (“Webb”).

   (See Ex. C: Reddam Dep. 26; Ex. A: CashCall Dep. 60; Ex. D: S.D. Sec. State.

   Bus. Listing.) Webb is a member of the Cheyenne River Sioux Tribe (“CRST”).

   (Ex. A: CashCall Dep. 60.) Western Sky Financial, together with Defendants, are

   referred to in this brief as the “Western Sky Enterprise.”

           Plaintiffs John MacDonald and Jessica Spearman (“Plaintiffs” or “Class

   Representatives”) are New Jersey residents who took out loans from the Western

   Sky Enterprise. (See Ex. E: MacDonald form loan agreement; Ex. F: Spearman

   form loan agreements.) The proposed classes, defined below, include all New

   Jersey residents who had loans during the six- and four-year statutory periods for


   1
    All exhibits cited herein are attached to the accompanying Declaration of Anna P.
   Prakash (“Prakash Decl.”). CashCall designated a single corporate representative
   for its 30(b)(6) deposition in this case—its General Counsel, Dan Baren. (Ex. A:
   CashCall Dep. 8-18.)

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   the asserted claims.

         B. The Western Sky Enterprise Operated Uniformly Throughout the
            Country to Illegally Circumvent State and Federal Law

            1. Defendants Formed the Western Sky Enterprise to Circumvent State
               and Federal Law

         In or around 2003, CashCall began making unsecured consumer installment

   loans in California. (Ex. A: CashCall Dep. 20, 35-37.) CashCall sought to expand

   its portfolio into other states but was mindful of the interest rate limits imposed by

   state law. (Id. at 37-38, 67; see Ex. G: Meeks Dep. 18.) To try to evade usury laws,

   Reddam decided that CashCall would enter into arrangements with state-chartered

   federally regulated banks. (Ex. A: CashCall Dep. 38-39; see Ex. G: Meeks Dep.

   16, 18.) But “the lending program established by CashCall with [these banks] was

   essentially a sham intended to make improper use of federal preemption in order to

   unlawfully evade [state] lender licensing and usury laws.” West Virginia v

   CashCall, Inc., No. 2008C1964, 2012 WL 11875220, at *1 (W. Va. Cir. Ct. Sep.

   10, 2012). Following trial in an action brought by the West Virginia Attorney

   General, the court entered judgment against CashCall, finding that CashCall was

   the true lender and was subject to West Virginia state law. Id. at *15; aff’d sub

   nom. CashCall, Inc. v. Morrisey, No. 12-1274, 2014 WL 2404300 (W. Va. May

   30, 2014). Even Reddam himself could not hide the fiction of the bank affiliation

   when questioned. (Ex. C: Reddam Dep. 114-116 (testifying that CashCall


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   originated the bank loans, with “[o]rigination there mean[ing] that CashCall did all

   the functions on those loans up to underwriting and funding.”).)

         After abandoning this “rent-a-bank” model, CashCall and Reddam tried to

   replicate their scheme—this time claiming to be associated with a Native American

   tribe, CRST. In 2009, CashCall teamed up with Webb’s company, Western Sky

   Financial. (Ex. A: CashCall Dep. 61-63 (CashCall’s general counsel and corporate

   designee testifying, “I gave [Webb] a background on CashCall and our success on

   the bank model and what we were looking to do. I also explained to him

   [regulatory counsel’s] suggestion that CashCall move to tribal model.”); see Ex. G:

   Meeks Dep. 18.) The objective was clear: by nominally involving Western Sky

   Financial, CashCall could escape usury law. (Ex. A: CashCall Dep. 71; see also

   Ex. C: Reddam Dep. 73-74 (approximating range of interest rates to be 79 to 200

   and stating, “I think most of the loans were done with an APR of about 139.”).)

   This Western Sky Enterprise was national in scope, i.e., it did not vary from state

   to state. (See CashCall Dep. 70-71 (“[W]e elected to go with a national plan rather

   than a state-specific plan.”).) CashCall’s arrangement with Western Sky Financial

   was discussed with, approved of, and literally signed off on by Reddam. (See id. at

   71-72; Ex. G: Meeks Dep. 14-15; Ex. H: Inetianbor 30(b)(6) Meeks Dep. 86-87;

   Ex. I: Reddam Dep. Exs. 2-6, Ex. 18.)




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            2. Under the Western Sky Enterprise, CashCall Operated As the True
               Lender

         Under the terms of the agreements, Western Sky Financial would be the

   “originator” of the loans on paper. However, shortly after loans were issued,

   CashCall, through its wholly owned subsidiary WS Funding, would purchase the

   loan from Western Sky Financial for 5.145%, with a $10,000 minimum monthly

   amount due to Western Sky Financial. (Ex. A: CashCall Dep. 79-82, 156; Ex. J:

   CashCall Dep. Ex. 6 at 19397-98; Ex. G: Meeks Dep. 26.) Western Sky Financial,

   in turn, would pay CashCall a 2.02% fee. (Ex. A: CashCall Dep. 93-104; Ex. K:

   CashCall Dep. Ex. 8 at 19390-91.) Importantly, once CashCall purchased the

   loans, Western Sky Financial had no further involvement. (Ex. H: Inetianbor

   30(b)(6) Meeks Dep. 66; Ex. A: CashCall Dep. 125 (“Because remember,

   CashCall is buying all of these loans, and CashCall is going to be on the hook if

   the borrowers are in default.”).) Loans that were in default were assigned to

   Delbert for collection. (Ex. A: CashCall Dep. 164-69.)

         Even leading up to the sale, however, CashCall and Reddam bore the risk

   and expense of the loans. The principal loaned to consumers came from CashCall.

   (Ex. C: Reddam Dep. 118-120; see infra fn.2.) CashCall also sought investors and,

   through subsidiaries, took out loans—including loans that Reddam and CashCall

   guaranteed—to fund the Western Sky loans. (See e.g., Ex. C: Reddam Dep. 99-

   104; Ex. A: CashCall Dep. 150, 210 (identifying six to eight “funding partners”
                                           6
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   with respect to Western Sky loans); Ex. G: Meeks Dep. 14-15, 27, 32-41, 60-61.




                                                                                   ).)2

   The agreement between CashCall and Western Sky Financial provided that

   CashCall would indemnify Western Sky Financial for fees and costs associated

   with legal actions. (Ex. A: CashCall Dep. 90-92; see Ex. J: CashCall Dep. Ex. 6 at

   CC-M-00019400.)

         CashCall was heavily involved in every aspect of the program. Under the

   arrangement, CashCall was obligated to reimburse Western Sky Financial for

   expenses including, for example, office costs, bank fees, advertising, half the cost

   of a cell tower, and an office building. (Ex. A: CashCall Dep. 83-86.) CashCall


   2

                                              CashCall, however, stopped purchasing
   Western Sky loans around September of 2013 at Reddam’s direction. (Ex. A:
   CashCall Dep. 202-203; Ex. C: Reddam Dep. 24-25.) CashCall stopped servicing
   and collecting on outstanding New Jersey loans in September of 2016, based on
   the summary judgment order in the CFPB action discussed below. (Ex. A:
   CashCall Dep. 205-206.) If loans were sold to third parties, however, those third
   parties may still be collecting on the loans. (Id.)

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   provided inbound and outbound customer service support to Western Sky

   Financial, i.e. CashCall employees would take calls from consumers interested in

   Western Sky loans. (Ex. A: CashCall Dep. 99, 101.) CashCall provided Western

   Sky Financial with dozens of phone and fax numbers for incoming consumer calls,

   as well as loan agents. (Id. at 21, 102; 131-33.) CashCall sent emails to customers

   on behalf of Western Sky. (Id. at 102-03.) CashCall also provided assistance and

   support for Western Sky Financial’s servers and used CashCall servers to

   accommodate Western Sky Financial’s needs. (Id. at 100-101.)

         “CashCall assisted and drafted a lot of advertising for the [Western Sky]

   program.” (Id. at 96-97.) CashCall worked with Western Sky Financial to put

   together the Western Sky website. (Id. at 129.) Even the Western Sky loans

   themselves were generally patterned after CashCall’s non-tribal loans. (Id. at 111-

   119 (explaining, among other things, similar loan amounts, no balloon payments,

   fixed payment schedules, no prepayment penalties, and general characteristics of

   borrowers having lower credit scores).) CashCall employees would review the

   underwriting criteria for Western Sky loans. (Id. at 100.)

         In short, consumers saw ads paid for by CashCall,3 called numbers or visited

   the website provided or supported by CashCall, spoke with representatives—many


   3
    All ads were run nationally and were not state-specific. (Ex. A: CashCall Dep.
   193.)

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   of whom were CashCall employees—and applied for loans that were funded

   through CashCall and/or otherwise modeled or approved by CashCall. The loans

   were promptly sold to CashCall and, if the borrower defaulted, would be collected

   on by Reddam-owned Delbert Services. (See Ex. A: CashCall Dep. 167 (as to

   collections, “New Jersey would be no different than any other state under the

   Western Sky model,”), 170 (same as to origination).)

             3. The Western Sky Enterprise Was Not Affiliated with the Cheyenne
                River Sioux Tribe

         Although Defendants used their purported affiliation with a Native

   American tribe to try to evade state and federal law, the fiction of tribal affiliation

   is made clear by Defendants’ admissions that the CRST did not and does not own

   Western Sky Financial. (Id. at 106; see also Ex. D: S.D. Sec. State. Bus. Listing.).

   Western Sky Financial never received funding from the CRST. (Ex. A: CashCall

   Dep. 106.) The CRST never owned the land or buildings where Western Sky

   Financial was located. (Id. at 106-108; Ex. N: CashCall Dep. Ex. 10 at ¶¶ 1-9.)

   There were likewise no contracts or business arrangements between CashCall and

   the CRST. (Ex. A: CashCall Dep. 108.) CashCall, Delbert, and WS Funding were

   never owned, operated, directed, or controlled by the CRST. (Id. at 108-109.)

         C. The Western Sky Enterprise Greatly Affected New Jersey Borrowers

         Since May 17, 2010, Defendants have issued 12,518 loans to 11,158 New

   Jersey consumers through the Western Sky Enterprise. (Ex. O: Defs’ Interrog.
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   Response Nos. 4; Ex. A: CashCall Dep. 72-73 (confirming same).) Defendants

   issued 8,121 of those loans to 7,520 New Jersey consumers on or after May 17,

   2012. (Ex. O: Defs’ Interrog. Response No. 5; Ex. A: CashCall Dep. 73-74.)

         The loan agreement governing these 12,518 loans is a form agreement titled

   the “Western Sky Consumer Loan Agreement.” (Ex. P: Form Western Sky

   Consumer Loan Agreements produced in this litigation.) While the form was

   modified from time to time, the modifications were minor and the substance of the

   agreement remained the same—namely, misrepresentations about the application

   of tribal law, misidentification of Western Sky Financial as the lender authorized

   by the laws of the CRST, and the general loan structure of principal, simple but

   high interest, and an amortization schedule providing for fixed payments. (See id.,

   see also Ex. A: CashCall Dep. 175-77, 179-187; Ex. Q (redlined comparison

   showing changes to the form agreements over time).4, 5


   4
     While Defendants modified the arbitration language in the form agreements, the
   modification merely purports to add an additional arbitration option. As this Court
   has already held, the modification does not save the agreement from being a
   “transparent attempt to hijack the FAA to deprive aggrieved parties of an
   opportunity to meaningfully adjudicate their claims. Although the FAA has a broad
   reach, courts will not enforce a prospective waiver of statutory rights, whether in
   an arbitration agreement or any other contract.” (Op. on Mot. to Dismiss at 10,
   ECF No. 24 (quotations omitted)); MacDonald v. CashCall, Inc., 883 F.3d 220 (3d
   Cir. 2018) (affirming decision).
   5
     (See Prakash Decl. ¶ 3 (explaining Ex. Q).) Further, when a change was made to
   the form loan agreement, that change was put into effect “[i]n every state where
   loans were being offered[,]” including New Jersey. (Ex. A: CashCall Dep. 177.)

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         For each of the 12,518 loans, Defendants can produce data showing, among

   other things, the principal balance at the time the loan was funded, the rate of

   interest per annum, and payment history, including total amount paid and applied

   to interest. (See Ex. R: Stip. re: Class Data.) During the statutory period,

   Defendants have loaned more than $32,000,000 in principal to New Jersey

   borrowers and the amount of interest paid on the same is knowable from

   Defendants’ records. (See id.; Ex. S: Let. from counsel.)

         D. The Proposed Class Representatives’ Experiences with the Western
            Sky Enterprise are Typical of the Experiences of Other New Jersey
            Borrowers

         As this Court has stated, “Plaintiff’s experience epitomizes Defendants’

   lending scheme.” (Op. on Mot. to Dismiss at 2, ECF No. 24.) In 2012, Mr.

   MacDonald was searching for a loan. Through Google, he happened upon the

   Western Sky website and saw it marketed that the loans were a convenient way to

   get money fast. (Ex. T: MacDonald Dep. 76-80.) On December 18, 2012, he took

   out a $5,000 loan by filling out the “Western Sky Consumer Loan Agreement”

   online. (Id. at 82-85; Ex. E: MacDonald Dep. Ex. 4 (form loan agreement).



   On December 26, 2012, Mr. MacDonald received an email notifying him that his

   loan had been sold to WS Funding and that CashCall would service the loan. (Ex.

   U: MacDonald notices and transaction history at MacDonald Dep. Ex. 6.) On


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   August 13, 2013, he received an email informing him that Delbert would take over

   the servicing of his loan and instructing him to direct future loan payments to

   Delbert. (Id. at MacDonald Dep. Ex. 7.) The loan was transferred back to CashCall

   in November 2014. (Id. at MacDonald Dep. Ex. 8.) As of April 2016, Defendants

   had collected more than $15,000 from Mr. MacDonald on his $5,000 loan. (Id. at

   MacDonald Dep. Ex. 12.)

         In 2012, Ms. Spearman saw a print ad for Western Sky loans and then

   applied for the loan online. (Ex. V: Spearman Dep. 32-34.) She ended up taking

   out three separate loans from the Western Sky Enterprise, two for $2,525 each

   (with annual percentage rates of 139.13%), and one for $5,000 (with an annual

   percentage rate of 116.57%). (Ex. F: Spearman Dep. Exs. 2, 7, 11 (form loan

   agreements).) For each, she filled out the “Western Sky Consumer Loan

   Agreement.” (Id.) As with Mr. MacDonald, each of her form agreements identified

   the lender as Western Sky Financial but were promptly sold and CashCall and/or

   Delbert took over servicing. (Ex. W: Spearman notices and transaction history at

   Spearman Dep. Ex. 4, CC-M-00104876-77, CC-M-00104934, and CC-M-

   00104953.)




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         E. Courts Continue to Find the Western Sky Enterprise Illegal or
            Otherwise Side with Consumers

         Across the country, Defendants are being forced to answer for their failed

   attempts to circumvent state usury and consumer protection laws. See e.g.,

   Consumer Fin. Prot. Bureau v. CashCall, Inc., No. 2:15-cv-07522-JFW-RAO,

   2016 WL 4820635, at *9-13 (C.D. Cal. Aug. 31, 2016) (granting summary

   judgment for the Bureau and concluding, among other things, that the tribal law

   provision in the loan agreements is unenforceable and that Reddam is individually

   liable); 2018 WL 485963, at *16 (C.D. Cal. Jan. 19, 2018) (imposing, after trial, a

   statutory penalty of more than ten million dollars), cross-appeals docketed, 18-

   55479 (9th Cir.) (challenging, among other things, denial of claim for restitution

   and award of statutory penalty); Inetianbor v. CashCall, Inc., No. 13-60066-CIV-

   COHN/SELTZER, ECF No. 284 (S.D. Fla. Sept. 19, 2016) (granting class

   certification of Florida classes challenging Western Sky Enterprise under state

   consumer protection laws); Hayes v. Delbert Servs. Corp., 811 F.3d 666, 676 (4th

   Cir. 2016) (reversing district court order compelling arbitration in case challenging

   Western Sky Enterprise and stating, “rather than use arbitration as a just and

   efficient means of dispute resolution, Delbert seeks to deploy it to avoid state and

   federal law and to game the entire system”); Parnell v. W. Sky Fin., LLC, 664 F.

   App'x 841, 844 (11th Cir. 2016) (affirming denial of CashCall’s motion to compel

   arbitration); see also Jackson v. Payday Fin., LLC, 764 F.3d 765, 786 (7th Cir.
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   2014) (“Additionally, the courts of the Cheyenne River Sioux Tribe do not have

   subject matter jurisdiction over the Plaintiffs' claims. Nor have the Defendants

   raised a colorable claim of tribal jurisdiction necessary to invoke the rule of tribal

   exhaustion.”). This is the only case brought exclusively on behalf of New Jersey

   consumers under New Jersey law.6

   II.   PROCEDURAL HISTORY

         Plaintiff MacDonald filed this proposed class action on May 17, 2016,

   alleging violations of RICO, New Jersey’s usury law and the New Jersey

   Consumer Fraud Act, as well as claims for restitution and unjust enrichment, a

   declaration that tribal law does not apply, and a declaration that the arbitration

   provision in the Western Sky Loan Agreement is void.7 (Compl., ECF No. 1.) Ms.

   Spearman was added as a proposed Class Representative on September 25, 2018.

   (Amend. Compl., ECF No. 69.) The Class Representatives bring this action on

   behalf of two proposed classes:

                                    Six Year Class
         All individuals who, on or after May 17, 2010, made payments to one
         or more Defendants on loans originated by the Western Sky


   6
     The Consumer Financial Protection Bureau action seeks relief for consumers in
   numerous states, including New Jersey, but was brought under the Consumer
   Finance Protection Act and not individual state’s laws. See Consumer Fin. Prot.
   Bureau, 2016 WL 4820635, at *4.
   7
     The initial complaint asserted a claim under the New Jersey Consumer Finance
   Licensing Act, which claim Plaintiff has since voluntarily withdrawn.

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         Enterprise where the borrower was located in the State of New Jersey
         at the time the loan was originated.

                                    Four Year Class
         All individuals who, on or after May 17, 2012, made payments to one
         or more Defendants on loans originated by the Western Sky
         Enterprise where the borrower was located in the State of New Jersey
         at the time the loan was originated.

   (Id., ¶¶ 63-64.) The Six-Year Class covers all asserted claims aside from RICO,

   which has a four-year statute of limitations and is, thus, asserted on behalf of the

   Four-Year class. (Id. ¶¶ 73-101.)

         Shortly after this action was filed, Defendants moved to compel arbitration

   or dismiss. This Court denied the motion, “declin[ing] to endorse the Loan

   Agreement’s sham dispute resolution procedures” and explaining that “the choice-

   of-law provision will not be enforced and New Jersey law will apply to this

   dispute.” (Op. on Mot. to Dismiss at 11-15, ECF No. 24.) Defendants appealed,

   and the parties’ counsel, as well as Mr. MacDonald, attended the Third Circuit’s

   mandatory mediation session by telephone. (Prakash Decl. ¶ 4.) Mediation was

   unsuccessful, and the Third Circuit affirmed this Court’s decision. MacDonald,

   883 F.3d at 223, 228 (“Because the parties’ agreement directs arbitration to an

   illusory forum, and the forum selection clause is not severable, the entire

   agreement to arbitrate, including the delegation clause, is unenforceable, and we

   will therefore affirm…. As a threshold matter, we must determine what substantive

   law governs our interpretation. The District Court concluded that, notwithstanding
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   the parties’ choice of CRST law, New Jersey law applies to this dispute. We

   agree.”).

         Discovery commenced in the summer of 2018. Mr. MacDonald and Ms.

   Spearman both provided written responses to interrogatories and document

   requests. Both searched for and provided documents for production, including

   personal emails. They met with counsel to prepare for their depositions, and each

   took time off from work to travel to and attend their depositions, with Mr.

   MacDonald traveling nearly an hour to reach his deposition and Ms. Spearman

   traveling nearly 50 miles for her deposition.8 They have demonstrated adequate

   knowledge concerning the litigation (see, e.g., Ex. T: MacDonald Dep. at 223-227,

   247-248; Ex. V: Spearman Dep. at 107-109, 120, 134-137), have stayed in contact

   with counsel throughout discovery via email and phone, and have stayed abreast of

   litigation developments. (Prakash Decl. ¶¶ 4-5.)

         Defendant CashCall was deposed, as was CashCall’s chief financial officer.

   Defendants produced numerous documents, including transcripts of CashCall’s and

   Reddam’s depositions in the Inetianbor and CFPB actions listed above. As to

   class-wide data, the parties entered into a stipulation making clear that Defendants




   8
     Defendants also deposed Mr. MacDonald’s ex-wife, who had no information
   relevant to his claims, and was not a party to the loan at issue.

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   would be able to produce class data upon receipt of a valid request or court order.

   (Ex. R, ¶ 4.)9

         The parties appeared in front of Magistrate Judge Wettre on various

   discovery disputes. In an order denying discovery into Plaintiff Spearman’s prior

   consumer loans, Magistrate Judge Wettre made clear that a plaintiff’s subjective

   experience or understanding of loan agreements is irrelevant under the New Jersey

   Consumer Fraud Act. (See Ex. X: Hearing Tr. at 6-9.) Discovery closed on January

   25, 2019. (ECF No. 83.)

         Both Plaintiffs took time off from work to travel to the court-ordered

   settlement conference in this matter in late 2018. (Prakash Decl. ¶¶ 4-5.) The case

   did not settle, and Plaintiffs now move to certify the above-defined classes under

   Fed. R. Civ. P. 23.

                                      ARGUMENT

         A class action “saves the resources of both the courts and the parties by

   permitting an issue potentially affecting every class member to be litigated in an

   economical fashion[.]” Gen. Tel. Co. of Sw. v. Falcon, 457 U.S. 147, 155 (1982)

   (quotations and modifications omitted). The party seeking certification must

   9
     (See also Ex. S (declining to produce class data until such time as a class is
   certified).) Plaintiffs raised this issue with Magistrate Judge Wettre, seeking a brief
   period of discovery following certification in order to request and receive class
   data. Magistrate Judge Wettre advised Plaintiffs to remind her of this request
   should a class be certified. (Ex. X at 9.)

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   demonstrate that Rule 23 is satisfied. Wal-Mart Stores, Inc. v. Dukes, 564 U.S.

   338, 351 (2011). Every class action must meet the four prerequisites of Rule 23(a):

   numerosity, commonality, typicality, and adequacy. Fed. R. Civ. P. 23(a). A class

   action must also be maintainable under Rule 23(b). See Fed. R. Civ. P. 23(b).

         The party seeking certification bears the burden of establishing each element

   of Rule 23 by a preponderance of the evidence. See In re Hydrogen Peroxide

   Antitrust Litig., 552 F.3d 305, 307 (3d Cir. 2009). The district court may grant

   certification only after conducting a “rigorous analysis” confirming that the

   requirements are met. Wal-Mart, 564 U.S. at 351. However, “Rule 23 grants courts

   no license to engage in free-ranging merits inquiries at the certification stage.”

   Amgen Inc. v. Conn. Ret. Plans & Trust Funds, 568 U.S. 455, 466 (2013). “Merits

   questions may be considered to the extent—but only to the extent—that they are

   relevant to determining whether the Rule 23 prerequisites for class certification are

   satisfied.” Id. As set forth below, Plaintiffs have more than met their burden. The

   Court should grant class certification.

   I.    PLAINTIFFS HAVE SATISFIED THE REQUIREMENTS FOR
         CLASS CERTIFICATION UNDER RULE 23(a)

         A. Rule 23(a)(1) – Numerosity is Satisfied

         Numerosity requires that “the class is so numerous that joinder of all

   members is impracticable.” Fed. R. Civ. P. 23(a)(1). Here, the putative Four-Year


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   Class contains more than 7,500 members, and the Six-Year Class contains more

   than 11,000 members. (See supra Relevant Background, Pt. I.C.) Numerosity is

   satisfied.

          B. The Putative Classes are Readily Ascertainable

          In addition to the enumerated requirements of Rule 23(a), the Third Circuit

   requires that “[a] plaintiff seeking certification of a Rule 23(b)(3) class must prove

   by a preponderance of the evidence that the class is ascertainable.” Byrd v. Aaron’s

   Inc., 784 F.3d 154, 163 (3d Cir. 2015). This requires that: (1) the class is defined

   with reference to objective criteria; and (2) there is “a reliable and administratively

   feasible mechanism for determining whether putative class members fall within the

   class definition.” Id. at 163 (quoting Hayes v. Wal-Mart Stores, Inc., 725 F.3d 349,

   355 (3d Cir. 2013)). Ascertainability does not require that all class members be

   identified at the certification stage—a plaintiff need only show that the members

   can be identified. Id.

          The Amended Complaint defines each class with reference to objective

   criteria: (1) location in New Jersey at the time of the loan; and (2) making

   payments to Defendants on Western Sky loans during the class period. (See ECF

   No. 69, Am. Compl. ¶¶ 63-64.) Likewise, there is a reliable and administratively

   feasible way to determine whether class members fall within the class definitions.

   Defendants have stipulated that they maintain loan level data and can produce


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   detailed data identifying each of the class members and the relevant information

   concerning their loans. (See supra Relevant Background, Pt. I.C.; Ex. R.) If the

   classes are certified, Plaintiffs will obtain this information to establish liability and

   damages for each class.10

         Both components of the ascertainabilty requirement are satisfied. See, e.g.,

   Hovermale v. Immediate Credit Recovery, Inc., 2018 WL 6322614, at *7 (D.N.J.

   Dec. 4, 2018) (“Class members are . . . easily identified through ICR’s business

   and mailing records[.]”); Kausar v. GC Servs. Ltd. P’ship, 2018 WL 4676041, at

   *7 (D.N.J. Sept. 27, 2018) (ascertainability satisfied where class members could be

   identified from records maintained by the defendant); Nepomuceno v. Midland

   Credit Mgmt., Inc., 2016 WL 3392299, at *3 (D.N.J. June 13, 2016) (same); see

   also Qureshi v. OPS 9, LLC, 2016 WL 6434345, at *2 (D.N.J. Oct. 28, 2016)

   (class member identities obtained through review of relevant business records).

         C. Rule 23(a)(2) – Plaintiffs Raise Common Questions Central to the
            Validity of the Claims of the Putative Classes

         The commonality requirement of Rule 23(a)(2) requires “questions of law or

   fact common to the class.” Fed. R. Civ. P. 23(a)(2). All questions need not be


   10
       Damages for Plaintiffs and the classes will be presented through expert
   testimony. The deadlines for expert disclosures and discovery have not yet been
   set. (See Sched. Order, ECF No. 56 ¶¶ 15-18.) At Magistrate Judge Wettre’s
   direction, the production of that data will be addressed following the Court’s
   decision on class certification. (See Ex. X at 9.)

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   common—“even a single common question will do.” Wal-Mart, 564 U.S. at 359

   (internal quotation marks and modifications omitted). What matters is “the

   capacity of a classwide proceeding to generate common answers apt to drive the

   resolution of the litigation.” Id. at 350. There must be a contention that is “capable

   of classwide resolution—which means that determination of its truth or falsity will

   resolve an issue that is central to the validity of each one of the claims in one

   stroke.” Id.

          Here, each of Plaintiffs’ asserted claims involves questions of law and fact

   that are common to the putative classes and will drive the ultimate resolution of

   this litigation:

          New Jersey Usury (Count I) – The maximum interest rate chargeable to

   consumers under New Jersey law is 16%. See N.J. Stat. § 31:1-1(a). A claim for

   violation of New Jersey usury law requires: (1) a loan of money; (2) an absolute

   obligation to repay the principal; and (3) the exaction of a greater compensation

   than that allowed by law. Dopp v. Yari, 927 F. Supp. 814, 820 (D.N.J. 1996). The

   violation must be intentional. See Altman v. Altman, 8 N.J. Super. 301, 309 (Ch.

   Div. 1950).

          There are common questions of law and fact with respect to the usury claim.

   Each of the elements of Plaintiffs’ and the class members’ claims will be proven

   through Defendants’ records, which identify the loans made to each class member,


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   the applicable interest rates, and the amounts of money paid on the loans. (See Ex.

   R.) Intent will be established through common evidence of Defendants’ tribal

   affiliation scheme, the purpose of which was a deliberate attempt to evade the laws

   of New Jersey. (See supra Relevant Background, Pt. I.B.)

         New Jersey Consumer Fraud Act (Count II) – Claims under the New

   Jersey Consumer Fraud Act require proof of three elements: (1) unlawful conduct

   by the defendant; (2) an ascertainable loss by the plaintiff; and (3) a causal

   relationship between the unlawful conduct and the ascertainable loss. Zaman v.

   Felton, 219 N.J. 199, 222 (2014) (quoting Bosland v. Warnock Dodge, Inc., 197

   N.J. 543, 557 (2009)). Unlawful conduct includes:

         The act, use or employment by any person of any unconscionable
         commercial practice, deception, fraud, false pretense, false promise,
         misrepresentation, or the knowing, concealment, suppression, or
         omission of any material fact with intent that others rely upon such
         concealment, suppression or omission, in connection with the sale or
         advertisement of any merchandise[.]

   N.J. Stat. Ann. § 56:8-2 (emphasis added). The Consumer Fraud Act deems the

   conduct set forth above unlawful “whether or not any person has in fact been

   misled, deceived or damaged thereby[.]” Id. Accordingly, as Magistrate Judge

   Wettre held in the course of discovery, the subjective experience of any individual

   plaintiff or class member is irrelevant to the inquiry. (See Ex. X at 6-9.)

         Although an “unconscionable commercial practice” is not defined under the

   Consumer Fraud Act, the statute contemplates a “lack of ‘good faith, honesty in
                                             22
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   fact and observance of fair dealing.’” Cox v. Sears Roebuck & Co., 138 N.J. 2, 18

   (1994) (quoting Kugler v. Romain, 58 N.J. 522, 544 (1971)). Charging interest on

   loans in excess of the maximum allowed by law is by definition an unconscionable

   practice. See Green v. Cont'l Rentals, 292 N.J. Super. 241, 256-57 (Law. Div.

   1994) (“The interest rates here far exceed that limitation and constitute an

   unconscionable practice.”); see also Heyert v. Taddese, 431 N.J. Super. 388, 415

   (App. Div. 2013) (charging rent in excess of that allowed by local rent control

   ordinance violates the Consumer Fraud Act); Ryan v. Gina Marie, L.L.C., 420 N.J.

   Super. 215, 227 (App. Div. 2011) (same); Wozniak v. Pennella, 373 N.J. Super.

   445, 456 (App. Div. 2004) (same).

         Like the usury claim, Plaintiffs’ Consumer Fraud Act claim involves

   common questions that can be resolved through class-wide evidence. Defendants

   committed the same unlawful conduct with respect to each class member—

   charging unconscionable and illegal interest rates under the Western Sky loan

   program. (See supra Relevant Background, Pt. I.) The loss suffered by each class

   member can be ascertained through Defendants’ records of the rates charged and

   payments made, and was plainly caused by the illegal conduct at issue. See, e.g.,

   Heyert, 373 N.J. at 422 (loss causation where landlord overcharged tenants,

   causing them “to lose money every month that they paid they illegal rent”).




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         Civil RICO (Count V) – RICO prohibits the use of an enterprise for the

   collection of unlawful debt:

         It shall be unlawful for any person employed by or associated with
         any enterprise engaged in, or the activities of which affect, interstate
         or foreign commerce, to conduct or participate, directly or indirectly,
         in the conduct of such enterprise’s affairs through a pattern of
         racketeering activity or collection of unlawful debt.

   18 U.S.C. § 1962(c). RICO likewise prohibits a conspiracy to use an enterprise for

   the collection of unlawful debt. 18 U.S.C. § 1962(d). An unlawful debt includes

   that “which was incurred in connection with . . . the business of lending money . . .

   a rate usurious under State or Federal law, where the usurious rate is at least twice

   the enforceable rate.” 18 U.S.C. § 1961(6). Under § 1962(c), the plaintiff must

   prove that a RICO defendant participated in (1) the conduct (2) of an enterprise (3)

   through a pattern of racketeering activity or collection of unlawful debt.

   Goldenstein v. Repossessors Inc., 815 F.3d 142, 147 (3d Cir. 2016).

         Plaintiffs’ RICO claims also raise common questions capable of class-wide

   resolution. “When a party seeks to certify a class to bring a RICO claim, the focus

   is on the defendant’s conduct.” Reyes v. Netdeposit, LLC, 802 F.3d 469, 486 (3d

   Cir. 2015). As the Third Circuit has noted, RICO allegations “will often contain

   common issues because, like commonality, a RICO allegation[] is informed by the

   defendant’s conduct as to all class members and any resulting injuries common to



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   all class members.” Id. (quoting Sullivan v. DB Invs., Inc., 667 F.3d 273, 297 (3d

   Cir. 2011) (en banc) (modifications and internal quotation marks omitted).

         Plaintiffs have set forth overwhelming evidence that Defendants, along with

   non-party Western Sky Financial, engaged in an enterprise to collect unlawful debt

   over the course of the relevant statutory period. Examples of this common

   evidence include:

       CashCall’s arrangement with Western Sky Financial under which loans
        were made to consumers in New Jersey and other states, while purporting to
        be exempt from state or federal regulation based on fictitious assertions of
        tribal affiliation;

       CashCall providing financing used to fund Western Sky loans;

       CashCall providing substantial resources in furtherance of the scheme,
        including: (1) website hosting and support services for Western Sky
        Financial; (2) assistance and support for Western Sky Financial’s server; (3)
        reimbursement to Western Sky Financial for office, personnel, and other
        expenses; (4) taking loan applications from potential borrowers; (5) paying
        for and participating in the marketing of Western Sky Financial and
        Western Sky loans, including advertising and other promotional materials;
        (6) indemnification of Western Sky Financial for all legal actions;

       WS Funding entering into agreements with Western Sky and purchasing
        usurious loans from Western Sky;

       Company records detailing the thousands of illegal loans made to New
        Jersey residents, including the unconscionable interest rates charged and all
        amounts collected;

       CashCall and Delbert Services servicing and collecting on Western Sky
        loans.



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   (See supra Relevant Background, Pts. I.B-C.) This common evidence will establish

   RICO violations and damages for the entire class. Commonality is satisfied. See,

   e.g., In re Cmty. Bank of N. Va. Mortg. Lending Practices Litig., 795 F.3d 380, 399

   (3d Cir. 2015) (finding commonality in RICO action where “the class was

   subjected to the same kind of illegal conduct by the same entities, and that class

   members were harmed in the same way, albeit to potentially different extents”);

   see also In re Ins. Brokerage Antitrust Litig., 579 F.3d 241, 269-70 (3d Cir. 2009)

   (“Thus, each element of the alleged RICO violation involves common questions of

   law and fact.”).

         Restitution and Unjust Enrichment (Count III) – For the same reasons

   already stated, the alternative claims for restitution and unjust enrichment also

   involve common questions. The same common evidence described above will

   prove (1) the benefits received by Defendants (principal, interest, and other

   receipts on Western Sky loans), as well as (2) the inequity in allowing Defendants

   to retain those benefits. See, e.g., In re Mercedes-Benz Tele Aid Contract Litig.,

   257 F.R.D. 46, 72-73 (D.N.J. 2009) (“In this case, an examination of the elements

   [of] Plaintiffs’ two causes of action—unjust enrichment and consumer fraud—

   reveals that virtually all of the legal and factual issues which will be adjudicated at

   trial are common to the class.”).




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         Declaratory Relief (Count IV) – Finally, Plaintiffs’ claims for declaratory

   relief raise common questions and have already been resolved in favor of Plaintiffs

   and the class. In denying Defendants’ motion to dismiss, the Court held that: (1)

   the arbitration provision in the Western Sky Loan Agreement is unenforceable; (2)

   the forum selection clause is also unenforceable; and (3) New Jersey—not tribal

   law—applies. (See Op. on Mot. to Dismiss at 6-21, ECF No. 24.) The Third Circuit

   affirmed. MacDonald, 883 F.3d 220.

          Plaintiffs have established that the elements of each asserted cause of action

   will be proven at summary judgment or trial through common evidence, applicable

   to all class members. Commonality is satisfied. See Inetianbor, No. 13-60066-

   CIV-COHN/SELTZER at 17-18 (finding commonality in class action against

   CashCall and Reddam alleging violations resulting from Western Sky loan

   program). (Ex. Y.)

          D. Rule 23(a)(3) – Plaintiffs’ Claims are Typical of the Claims of the
             Putative Classes

          Typicality requires that “the claims or defenses of the representative parties

   are typical of the claims or defenses of the class.” Fed. R. Civ. P. 23(a)(3). The

   requirement ensures “that the class representatives are sufficiently similar to the

   rest of the class . . . so that certifying those individuals to represent the class will be

   fair to the rest of the proposed class.” In re Schering Plough Corp. ERISA Litig.,


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   589 F.3d 585, 597 (3d Cir. 2009). The typicality analysis focusses on three related

   issues: “(1) the claims of the class representative must be generally the same as

   those of the class in terms of both (a) the legal theory advanced and (b) the factual

   circumstances underlying that theory; (2) the class representative must not be

   subject to a defense that is both inapplicable to many members of the class and

   likely to become a major focus of the litigation; and (3) the interests and incentives

   of the representative must be sufficiently aligned with those of the class.” Id. at

   599. “[C]ases challenging the same unlawful conduct which affects both the named

   plaintiffs and the putative class usually satisfy the typicality requirement

   irrespective of the varying fact patterns underlying the individual claims.” Baby

   Neal for & by Kanter v. Casey, 43 F.3d 48, 58 (3d Cir. 1994).

         The legal claims of proposed Class Representatives MacDonald and

   Spearman are identical to those of the classes they seek to represent. The Class

   Representatives, like the members of the putative classes, seek relief under New

   Jersey’s usury law, the New Jersey Consumer Fraud Act, and RICO, and have also

   brought claims for restitution and unjust enrichment, a declaration that tribal law

   does not apply, and declaration that the arbitration provision in the Western Sky

   Loan Agreement is void.

         The factual circumstances giving rise to the Class Representatives’ claims

   are also typical of the putative classes. Like the class members, Mr. MacDonald


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   and Ms. Spearman are New Jersey residents who paid illegal, usurious interest

   rates to Defendants under the Western Sky tribal lending program. (See supra

   Relevant Background, Pt. I.D; Exs. E-F.) As discussed in the context of

   commonality, the core facts that will drive liability and damages are identical for

   both the Class Representatives and the classes that they seek to represent.

         Further, there are no legitimate defenses that would apply only to Mr.

   MacDonald or Ms. Spearman and would be inapplicable to the other classes

   members. The interests and incentives of the Class Representatives are aligned

   with those of the putative classes that they seek to represent. Typicality is satisfied.

   See, e.g., James v. Glob. Tel*Link Corp., 2018 WL 3727371, at *5 (D.N.J. Aug. 6,

   2018) (typicality where plaintiffs were subject to the same allegedly illegal fees

   and pursued the same legal theories as the putative class).

         E. Rule 23(a)(4) – The Class Representatives Will Fairly and
            Adequately Represent the Interests of the Members of the Putative
            Classes

         The adequacy inquiry ensures that “the representative parties will fairly and

   adequately protect the interests of the class.” Fed. R. Civ. P. 23(a)(4). The

   adequacy requirement applies to both class representatives and their counsel.

             1. The Class Representatives

         With respect to the class representatives, “the adequacy inquiry seeks to

   uncover conflicts of interest between named parties and the class they seek to

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   represent.” In re Schering Plough Corp. ERISA Litig., 589 F.3d at 602 (internal

   quotation marks omitted). In addition, “[a] class representative must represent a

   class capably and diligently.” In re Nat'l Football League Players Concussion

   Injury Litig., 821 F.3d 410, 430 (3d Cir. 2016), as amended (May 2, 2016).

   However, a class representative need only possess a “minimal degree” of

   knowledge about the litigation. Id. (citing New Directions Treatment Servs. v. City

   of Reading, 490 F.3d 293, 313 (3d Cir. 2007)).

         There are no conflicts or other questions concerning the adequacy of the

   Class Representatives in this case. The Class Representatives and the putative

   classes share a common interest in seeking relief from Defendants’ illegal lending

   practices. Both Mr. MacDonald and Ms. Spearman have demonstrated a

   commitment to the classes and have represented them capably and diligently. They

   have assisted in the preparation of the Complaints, searched for and produced

   documents, responded to written discovery, traveled on more than one occasion for

   this case, been deposed and demonstrated adequate knowledge concerning the

   litigation, maintained regular contact with counsel, and attended mediation. (See

   supra Relevant Background, Pt. II.) They are committed to this case and are

   adequate Class Representatives.




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            2. Class Counsel

         With respect to class counsel, the adequacy inquiry requires that counsel be

   “qualified, experienced, and generally able to conduct the proposed litigation[.]” In

   re Thalomid and Revlimid Antitrust Litig., 2018 WL 6573118, at *10 (D.N.J. Oct.

   30, 2018). The analysis is governed by Rule 23(g), which provides a non-exclusive

   list of factors for consideration: (1) the work counsel has done in identifying or

   investigating potential claims in the action; (2) counsel’s experience in handling

   class actions, other complex litigation, and the types of claims asserted in the

   action; (3) counsel’s knowledge of the applicable law; and (4) the resources that

   counsel will commit to representing the class. See Fed. R. Civ. P. 23(g).

         There is no question here that class counsel are able to fairly and adequately

   represent the members of the putative classes. To date, counsel have vigorously

   and effectively prosecuted the case, including: investigating the claims and filing

   the Complaints; successfully opposing Defendants’ motion to dismiss, including an

   appeal to the Third Circuit; and moving the case efficiently through discovery.

   (Prakash Decl. ¶ 6.)

         Counsel have demonstrated knowledge of the applicable law, and have

   considerable experience litigating complex consumer class actions. Counsel from

   Nichols Kaster, PLLP are well-qualified, experienced, and able to conduct this

   litigation. (Prakash Decl. ¶¶ 7-8; Ex. Z: Nichols Kaster firm resume.) Over the


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   course of its forty-five year history, Nichols Kaster has earned the reputation of

   being a top plaintiffs’ litigation firm. (Ex. Z at p. 2.) The firm represents

   consumers and employees across the country in individual, collective, and class

   litigation. (Id.) Its lawyers are routinely lauded for their work and high quality of

   representation. (Id. at pp. 4-8.) The firm has been appointed class or collective

   counsel on numerous occasions in federal courts around the country. (Id. at pp. 16-

   18.) Counsel in the instant matter are well-versed in class action law, have a depth

   of experience litigating complex class actions, routinely speak on class and

   consumer matters at seminars around the country, and are dedicated the serving the

   classes they represent. (Id. at pp. 22, 24-26; Prakash Decl. ¶¶ 7-8.) The firm and

   counsel’s proven results show that they are willing to put forward the resources

   necessary to pursue the case through verdict. (See Ex. Z at pp. 9-19 (discussing

   trial and arbitration awards, appellate achievements, and settlement results).)

         Gupta Wessler PLLC likewise has the skill and experience to litigate actions

   such as this action. (Declaration of Matthew W.H. Wessler Decl. ¶¶ 2-7.) Gupta

   Wessler’s practice is focused on Supreme Court, appellate, and complex litigation

   with an emphasis on class-action issues and consumer-protection law, and counsel

   has argued before the U.S. Supreme Court on behalf of plaintiffs in a number of

   major consumer and worker rights cases. (Id.) Gupta Wessler has built an

   unparalleled track record in handling payday-lending issues and appeals, as


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   demonstrated by the Third Circuit victory in this case and Hayes, 811 F.3d 666,

   which led to one of the largest settlements against a payday lender in Virginia, as

   well as Heldt v. Payday Financial, LLC, 2016 WL 96156, at *10 (D.S.D. Jan. 8,

   2016), in which counsel successfully intervened to prevent an inadequate

   settlement from extinguishing the claims of borrowers challenging the Western

   Sky Enterprise. (Id.)

         Proposed Class Counsel are more than adequate. Pursuant to Rule 23(g), the

   Court should appoint Nichols Kaster and Gupta Wessler as co-lead class counsel.

         F. Rule 23(b)(3) – Common Questions Predominate Over Any
            Individual Issues, and a Class Action is Superior

            1. Predominance is Satisfied

         A class may be certified under Rule 23(b)(3) if “questions of law or fact

   common to class members predominate over any questions affecting only

   individual members.” Fed. R. Civ. P. 23(b)(3). Predominance “tests whether

   proposed classes are sufficiently cohesive to warrant adjudication by

   representation.” Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 623 (1997).

   Individual questions are those where class members “will need to present evidence

   that varies from member to member,” while common questions are those where

   “the same evidence will suffice for each member to make a prima facie showing




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   [or] the issue is susceptible to generalized, class-wide proof.” Tyson Foods, Inc. v.

   Bouaphakeo, 136 S. Ct. 1036, 1045 (2016).

         Predominance turns on the “nature of the evidence” and whether “proof of

   the essential elements of the cause of action requires individual treatment.”11

   Williams v. Jani-King of Philadelphia Inc., 837 F.3d 314, 319 (3d Cir. 2016).

   Accordingly, the court must examine the elements of the claims at issue “through

   the prism” of Rule 23 to determine whether predominance is satisfied. In re Cmty.

   Bank of N. Va. Mortg. Lending Practices Litig., 795 F.3d 380, 399 (3d Cir. 2015).

   Because the commonality requirement of Rule 23(a)(2) is essentially incorporated

   into the more stringent predominance requirement of Rule 23(b)(3), it is

   appropriate to consider both factors together. In re Ins. Brokerage Antitrust Litig.,

   579 F.3d 241, 266 (3d Cir. 2009).

         As already explained in detail in the context of commonality, each of the

   essential elements of Plaintiffs’ causes of action will be met through common

   proof, applicable to the classes as a whole. (See supra Argument, Pt. I.C.) There

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      However, Rule 23(b)(3) “does not require a plaintiff seeking class certification
   to prove that each element of her claim is susceptible to classwide proof.” Amgen,
   568 U.S. at 469 (quotations and modifications omitted). “When one or more of the
   central issues in the action are common to the class and can be said to predominate,
   the action may be considered proper under Rule 23(b)(3) even though other
   important matters will have to be tried separately, such as damages or some
   affirmative defenses peculiar to some individual class members.” Tyson Foods,
   136 S. Ct. at 1045.


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   are no individualized issues—the Western Sky Enterprise operated such that all

   loans exceeded the applicable limit in New Jersey, and the relevant conduct did not

   differ borrower to borrower. Rather, Defendants ran a uniform scheme and its

   legality will rise or fall as a whole. Damages, too, present no individualized issues

   capable of predominating. Predominance may be met, and a class certified, even

   where class members’ damages are not susceptible to a formula for class-wide

   measurement. See Neale v. Volvo Cars of N. Am., LLC, 794 F.3d 353, 374-75 (3d

   Cir. 2015). Here, however, Plaintiffs will be able to calculate the precise amount of

   damages for each class member using detailed records kept by Defendants

   concerning the interest rates applicable to each class member’s loans, along with

   all charges and payments made. (See supra Relevant Background, Pt. I.C; Ex. R.)

         In sum, this action presents the Court exclusively with issues that can be

   resolved class-wide, using common evidence. Predominance is satisfied. See, e.g.,

   In re Ins. Brokerage Antitrust Litig., 579 F.3d at 269-70 (finding predominance in

   RICO class action); James, 2018 WL 3727371, at *7 (predominance in action

   alleging unconscionable rates and fees under Consumer Fraud Act); In re Thalomid

   and Revlimid Antitrust Litig., 2018 WL 6573118, at *17 (“Common to all class

   members . . . is whether Defendant unjustly acquired additional revenue or

   profits[.]”); Korrow v. Aaron’s Inc., 2013 WL 5811496, at *9 (D.N.J. July 31,




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   2013) (finding predominance where “a single determination of the legality of the

   fees charged by Defendant will determine liability for the entire class”).

             2. Superiority is Satisfied

         A class action may be certified under Rule 23(b)(3) if the court finds that a

   class action is “superior to other available methods for fairly and efficiently

   adjudicating the controversy.” Relevant considerations include: “(A) the class

   members’ interests in individually controlling the prosecution or defense of

   separate actions; (B) the extent and nature of any litigation concerning the

   controversy already begun by or against class members; (C) the desirability or

   undesirability of concentrating the litigation of the claims in the particular forum;

   and (D) the likely difficulties in managing a class action.” Fed. R. Civ. P. 23(b)(3).

         A finding of superiority is warranted. Any interest by class members in

   controlling the prosecution of their individual claims is far outweighed by the

   efficiency in adjudicating the claims as a class action. See, e.g., Reyes, 802 F.3d at

   491-92 (outlining the benefits of class actions for consumers). And, although

   Defendants have suggested that the outcome of the Consumer Financial Protection

   Bureau’s action in California will have some bearing here, the existence of that

   litigation does not undermine superiority. See Inetianbor, No. 13-60066-CIV-

   COHN/SELTZER, pp. 9-16 (S.D. Fla. Sept. 19, 2016) (existence of government

   action supports, rather than diminishes, superiority). Further, there is no question


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   that this District is the most appropriate forum for trial, since the action involves

   exclusively New Jersey consumers. Finally, as explained in detail above, the

   claims of Plaintiffs and the putative class members can be managed in a single trial

   using common, class-wide proof, and with the same core of evidence establishing

   both liability and damages for each member of the putative classes.

   II.   THE COURT SHOULD APPROVE PLAINTIFFS’ PROPOSED
         CLASS NOTICE FOR MAIL DISTRIBUTION

         When a class is certified under Rule 23(b)(3), the court “must direct to class

   members the best notice that is practicable under the circumstances, including

   individual notice to all members who can be identified through reasonable effort.”

   Fed. R. Civ. P. 23(c)(2)(B). The notice must explain, in easily understood

   language: (1) the nature of the action; (2) the class definition; (3) the claims,

   issues, and defenses; (4) that a class member may enter an appearance through

   their own attorney; (5) that class members may request exclusion; (6) the time and

   manner for requesting exclusion; and (7) the binding effect of a class judgment. Id.

   The notice may be sent by U.S. mail, electronic means, or any other appropriate

   method. Id.

         Plaintiffs’ proposed notice (Ex. AA), is modeled off of the Federal Judicial

   Center’s illustrative forms of class notice, is easy to understand, and contains all of

   the content required under Rule 23(c)(2)(B). Defendants have each borrower’s last

   known mailing address (Ex. R at ¶ 3.c), making notice by U.S. mail the best notice
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   practicable under the circumstance. See Fed. R. Civ. P. 23, advisory committee

   notes, 2018 amendments (explaining that notice by U.S. mail “may often be the

   preferred primary method of giving notice”). Plaintiffs’ propose that the notice be

   distributed by a reputable class action administrator, with class members given 60

   days to request exclusion, and with class member addresses updated through

   National Change of Address database.

                                      CONCLUSION

         Based on the foregoing, Plaintiffs respectfully request that they Court grant

   class certification and authorize class notice.

   Dated: February 8, 2019                 s/Patricia A. Barasch

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